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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


__________________________________________
                                          )
DANIEL J. SCAVINO, JR.                     )
                                           )   1:22-cv-00018-DLF
            Plaintiff,                     )
v.                                         )
                                           )
VERIZON COMMUNICATIONS INC.               )
                                           )
            Defendant.                     )
__________________________________________)


             DEFENDANT VERIZON COMMUNICATIONS INC.’S
   STATEMENT OF MATERIAL FACTS AS TO WHICH THERE IS NO GENUINE
  ISSUE IN SUPPORT OF ITS OPPOSITION TO PLAINTIFF DANIEL J. SCAVINO
                JR.’S MOTION FOR SUMMARY JUDGMENT
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        Pursuant to Federal Rule of Civil Procedure 56 and Local Rule 7(h), Defendant, Verizon

Communications Inc. (“Verizon”), submits this Statement of Material Facts as to Which There Is

No Genuine Issue in Support of Its Opposition to Plaintiff Daniel J. Scavino Jr.’s Motion for

Summary Judgment.

                                      STATEMENT OF FACTS

       1.      Verizon received a facially valid subpoena, dated December 15, 2021, from the

U.S. House Select Committee to Investigate the January 6th Attack on the United States Capitol

Select Committee (the “Select Committee”) seeking the production of certain telephone records

for several phone numbers, including one used by Daniel J. Scavino, Jr. See Ex. 1.

       2.      The December 15, 2021 subpoena notes that the Select Committee was

conducting an “examination of how various individuals and entities coordinated their activities

leading up to the events of January 6, 2021, including through the use of phones.” Ex. 1 at 4.

       3.      The December 15, 2021 subpoena does not call for the production of the content

of any communications. It seeks the production only of “Subscriber Information,” and

“Connection and Records of Session Times and Durations.” Ex. 1 at 6.

       4.      The cover letter attached to the December 15 subpoena, signed by the Select

Committee’s Chairman, stated that “[t]he subpoena does not call for the production of the

content of any communications.” Ex. 1 at 4.




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Dated: October 5, 2022                     Respectfully submitted,

                                           /s/ Reid M. Figel
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